USCA4 Appeal: 24-6178      Doc: 7        Filed: 08/22/2024     Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-6178


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        TRADON MARQUEZ DRAYTON,

                            Defendant - Appellant.



        Appeal from the United States District Court for the District of South Carolina, at
        Charleston. Bruce H. Hendricks, District Judge. (2:21-cr-00372-BHH-1)


        Submitted: August 16, 2024                                        Decided: August 22, 2024


        Before NIEMEYER, THACKER, and RUSHING, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Tradon Marquez Drayton, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-6178         Doc: 7     Filed: 08/22/2024     Pg: 2 of 2




        PER CURIAM:

               Tradon Marquez Drayton appeals the district court’s order, entered on remand from

        this court, see United States v. Drayton, No. 23-6527, 2023 WL 6442547 (4th Cir. Oct. 3,

        2023), denying Drayton’s motion for early termination of supervised release pursuant to

        18 U.S.C. § 3583(e)(1). Upon review, we conclude that the district court did not abuse its

        considerable discretion in denying Drayton’s motion based on its evaluation of the relevant

        18 U.S.C. § 3553(a) factors identified in § 3583(e). See United States v. Pregent, 190 F.3d

        279, 282 (4th Cir. 1999) (providing standard of review). Accordingly, we affirm the

        district court’s order. United States v. Drayton, No. 2:21-cr-00372-BHH-1 (D.S.C. Feb. 7,

        2024). We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                     AFFIRMED




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